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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                    April 24, 2017
                             UNITED STATES DISTRICT COURT
                                                                                 David J. Bradley, Clerk
                              SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                     §
                                             §
VS.                                          §   CRIMINAL NO. 2:17-CR-54-2
                                             §
DAYANA SABINA-VEGA                           §

               ORDER GRANTING MOTION FOR CONTINUANCE

       Pending is defendant DAYANA SABINA-VEGA’s motion for continuance.

(D.E. 50). United States District Judge Nelva Gonzales Ramos referred the motion to the

undersigned magistrate judge for disposition. The Government is unopposed to the

motion.    The defendant moves for a continuance because defense counsel needs

additional time to investigate and prepare for trial.     A superseding indictment was

recently issued expanding the scope of the alleged human trafficking conspiracy by

several months. Further, it appears an additional defendant was named in the conspiracy.

       The Court has considered the Unopposed Motion for Continuance of the Pretrial

Conference and Trial of defendant, DAYANA SABINA-VEGA, and finds that this

motion should be GRANTED. Taking into account the exercise of due diligence, failure

to grant the continuance would deny counsel for the defendant reasonable time necessary

for effective preparation.

       Accordingly, the Court GRANTS the motion for continuance and further finds

pursuant to 18 U.S.C. § 3161(h)(7)(A) the ends of justice served by the granting of the

continuance outweigh the best interests of the public and the defendant in a speedy trial.

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       It is further ORDERED that this case is set for a final pretrial conference on June

1, 2017 at 9:00 a.m. and jury selection and trial is set on June 5, 2017 at 9:00 a.m.

Based on defense counsel’s announcement that the case will be tried before a jury, both

settings are before United States District Judge Nelva Gonzales Ramos. Should the

defendant decide to plead guilty, defense counsel is instructed to contact the

undersigned’s case manager if the defendant consents to proceed before the undersigned

for purposes of a re-arraignment proceeding.

       ORDERED this 24th day of April, 2017.


                                               ___________________________________
                                                            Jason B. Libby
                                                     United States Magistrate Judge




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